            Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 1 of 8




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                             MIDLAND-ODESSA DIVISION

LC WARD, JR.,                                        §              CIVIL ACTION NO.
          PLAINTIFF,                                 §
                                                     §
v.                                                   §                   7:20-CV-259
                                                     §
ROCKWATER ENERGY SOLUTIONS,                          §
        DEFENDANT.                                   §              JURY DEMANDED


                                 PLAINTIFF’S COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Plaintiff LC Ward, Jr. (“Plaintiff”) files this Complaint and would respectfully show the

Court as follows:

                                            PARTIES

       1.      Plaintiff is an individual who currently resides in Ector County, Texas.

       2.      Defendant Rockwater Energy Solutions (“Defendant”) is a foreign limited

liability company with its principal place of business in Houston, Texas. Defendant may be served

with process through its registered agent, Corporation Service Company d/b/a CSC-Lawyers

Incorporating Service Company, 211 E. 7th St., Suite 620, Austin, TX 78701-3218.

                                    JURISDICTION AND VENUE

       3.      This Court has federal question jurisdiction because the action arises under Title I

of the Americans with Disabilities Act, 42 U.S.C. § 12117(a).

       4.      Venue is proper in the U.S. District Court for the Western District of Texas,

Midland-Odessa Division pursuant to 42 U.S.C. § 1391(b) because the unlawful practices alleged

below were committed therein.




PLAINTIFF’S COMPLAINT                                                                      PAGE 1
              Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 2 of 8




                     EXHAUSTION OF ADMINISTRATIVE PROCEDURES

       5.        Plaintiff timely filed a Charge of Discrimination with the Equal Employment

Opportunity Commission (EEOC). Plaintiff filed this suit within ninety (90) days of receiving a

Notice of Right to Sue (RTS Notice) from the EEOC. A true and correct copy of the RTS Notice

is attached as Exhibit A.

                                    CONDITIONS PRECEDENT

       6.        All conditions precedent have been performed or have occurred.

                                                FACTS

       7.        Defendant is a chemical and logistics solutions provider offering customized

products and services to the stimulation, fracturing, fluids, and production needs of its customers

throughout the United States.

       8.        Defendant hires Plaintiff as a service technician in 2007.

       9.        In 2010, Plaintiff writes a letter to his General Manager telling him that he has been

diagnosed with Multiple Sclerosis (MS).

       10.       MS is an autoimmune disease in which the body’s own immune cells attack the

central nervous system.

       11.       Defendant bumps Plaintiff to a position as a driver. The driver position is more

physically strenuous than the service technician provision. For example, a driver has to climb

multiple stairs as he makes his rounds at the locations.

       12.       Plaintiff requests multiple times to be moved back to the position of service

technician.

       13.       Plaintiff is prescribed monthly infusion treatments that cost approximately

$30,000.00 per month including approximately $25,000.00 per month for the medication.



PLAINTIFF’S COMPLAINT                                                                          PAGE 2
             Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 3 of 8




       14.      Defendant tells Plaintiff to continue to work as a driver until a position comes open

as a service technician.

       15.      Defendant hires other service technicians.

       16.      Defendant hires other drivers and instructed Plaintiff to train them.

       17.      Plaintiff is loyal to his employer and does everything that is asked of him.

       18.      Defendant fires Plaintiff on February 27, 2020. The reason given for Plaintiff’s

termination is that he received a Department of Transportation (DOT) ticket because one of the

stickers blew off of a drum that he was hauling.

       19.      Other drivers have been ticketed for similar or worse offenses and have not been

terminated.

                  COUNT ONE – DISABILITY DISCRIMINATION (ADA) –
                          FAILURE TO ACCOMMODATE

       20.      Plaintiff incorporates by reference all of the foregoing and further alleges as

follows:

       21.      Plaintiff is an employee within the meaning of the Americans with Disabilities Act

(ADA). See 42 U.S.C. §12111(4).

       22.      Defendant is an employer within the meaning of the ADA. See 42 U.S.C.

§12111(5).

       23.      Plaintiff is a qualified individual with a disability as defined by the ADA. See 42

U.S.C. §12102, 12111(8). Plaintiff is otherwise qualified to perform the essential functions of the

jobs of field services technician and driver.

       24.      Plaintiff has Multiple Sclerosis (MS). MS is a disability as defined by the ADAAA,

42 U.S.C. §12102.




PLAINTIFF’S COMPLAINT                                                                          PAGE 3
             Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 4 of 8




       25.      MS is a physical impairment that substantially limits one or more major life

activities. Major life activities also include the operation of major bodily functions, including but

not limited to the immune system and neurological functions.

       26.      Although Plaintiff’s MS may have been in remission at times, an impairment that

is episodic or in remission is a disability if it would substantially limit a major life activity when

active. See 42 U.S.C. §12102(4)(D).

       27.      Defendant was aware that Plaintiff has MS.

       28.      Defendant violated the ADA by failing to accommodate Plaintiff’s disability by

moving him back to the position of field services technician.

       29.      Defendant did not enter into the interactive process to determine what if any

accommodation would allow Plaintiff to perform his job duties.

       30.      As a direct and proximate result of Defendant’s conduct, Plaintiff suffered

damages. Defendant’s conduct was willful and justifies an award of punitive damages.

                   COUNT TWO – DISABILITY DISCRIMINATION (ADA)-
                                  TERMINATION

       31.      Plaintiff incorporates by reference all of the foregoing and further alleges as

follows:

       32.      Plaintiff is an employee within the meaning of the Americans with Disabilities Act

(ADA). See 42 U.S.C. §12111(4).

       33.      Defendant is an employer within the meaning of the ADA. See 42 U.S.C.

§12111(5).

       34.      Plaintiff is a qualified individual with a disability as defined by the ADA. See 42

U.S.C. §12102, 12111(8).




PLAINTIFF’S COMPLAINT                                                                         PAGE 4
             Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 5 of 8




       35.      In the event that Plaintiff’s condition is not a disability as defined by the ADA,

Defendant regarded him as disabled and/or he has a record of disability.

       36.      Plaintiff is otherwise qualified to perform the essential functions of the jobs of field

services technician and driver.

       37.      Plaintiff has Multiple Sclerosis (MS). MS is a disability as defined by the ADAAA,

42 U.S.C. §12102. Alternatively, Defendant regarded Plaintiff as having a disability.

       38.      MS is a physical impairment that substantially limits one or more major life

activities. Major life activities also include the operation of major bodily functions, including but

not limited to the immune system and neurological functions.

       39.      Although Plaintiff’s MS may have been in remission at times, an impairment that

is episodic or in remission is a disability if it would substantially limit a major life activity when

active. See 42 U.S.C. §12102(4)(D).

       40.      To the extent that Defendant offers a legitimate nondiscriminatory reason for

Plaintiff’s discharge, said reason(s) are a mere pretext for discrimination. Alternatively, the

reason(s) given for Plaintiff’s termination, while true, are only some of the reasons, and Plaintiff’s

disability was a motivating factor in the decision to terminate his employment. In other words,

Defendant had mixed motives for Plaintiff’s termination.

       41.      As a direct and proximate result of Defendant’s conduct, Plaintiff suffered

damages. Defendant’s conduct was willful and justifies an award of punitive damages.

                                             DAMAGES

       42.      Plaintiff has suffered damages including but not limited to backpay, front pay, and

mental anguish/emotional distress.




PLAINTIFF’S COMPLAINT                                                                           PAGE 5
              Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 6 of 8




                                         ATTORNEY’S FEES

        43.      Plaintiff was forced to engage counsel to protect his rights. Plaintiff is entitled to

an award of attorneys’ fees and costs (including but not limited to an award of reasonable expert

witness fees), both trial and appellate, under the ADA, 42 U.S.C. §12205.

                                              INTEREST

        44.      Plaintiff is entitled to prejudgment and post judgment interest at the highest lawful

rate.

                                       JURY TRIAL DEMAND

        45.      Plaintiff demands a jury trial.


                                               PRAYER

        WHEREFORE, Plaintiff respectfully prays for judgment against Defendant for the

following:

        a. Compensatory and punitive damages;

        b. Back pay and front pay;

        c. Attorneys’ fees and costs;

        d. Prejudgment and post-judgment interest;

        e. Such other and further relief, at law or in equity, to which Plaintiff may show himself

              justly and lawfully entitled.




PLAINTIFF’S COMPLAINT                                                                          PAGE 6
         Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 7 of 8




                                   Respectfully submitted,


                                   By: /s/ Holly B. Williams
                                           Holly B. Williams
                                           Texas Bar No. 00788674

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                                   LC WARD, JR.




PLAINTIFF’S COMPLAINT                                                  PAGE 7
Case 7:20-cv-00259-DC Document 1 Filed 11/17/20 Page 8 of 8
                                                         EXHIBIT A
